
Dissenting opinion filed by Circuit Judge NEWMAN.

ORDER

PER CURIAM.
Avtel Services, Inc. (Avtel) seeks a re-solicitation or reevaluation of a contract that was awarded to King Aerospace, Inc. by the United States. This court only possesses jurisdiction over Avtel’s appeal if it can be awarded the relief it seeks. Avtel has made a general assignment to another party to liquidate its assets and distribute the proceeds to creditors and admits that it does not have the resources necessary to perform the contract.
Accordingly,
IT IS ORDERED THAT:
This appeal is dismissed for want of jurisdiction based on Avtel’s bankruptcy status.
